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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                         Plaintiff,                 )                       8:06CR119
                                                    )
                v.                                  )
                                                    )
LEONEL GARCIA-PADILLA,                              )                         ORDER
                                                    )
                         Defendant.                 )



        This matter is before the court on defendant’s second motion for an extension of

time, Filing No. 136, to file a brief in response to the government’s answer, Filing No. 133,

to defendant’s § 2255 motion, Filing No. 131. The court will grant the defendant’s motion,

but because this is the second request for an extension of time, the court will not grant

further extensions absent a showing of good cause.1

        THEREFORE, IT IS ORDERED that the defendant’s motion, Filing No. 136, for an

extension of time to file a brief in response to the government’s answer is granted until

January 30, 2009.

        DATED this 29th day of December, 2008.


                                                  BY THE COURT:



                                                  s/ Joseph F. Bataillon
                                                  Chief United States District Judge




        1
         The court notes that defendant’s niece requested copies of transcripts of the record in this case and
that on November 25, 2008, said transcripts were mailed to the defendant and to her.
